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EXHIBIT B
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EXHIBIT B

Disbursements -- Matter 46:

Local Messenger 52.97
Overnight Messenger 410.30
Duplicating 167.70
Facsimile 5.00
On-Line Research/Information Retrieval 4,162.56
Long Distance Telephone 90,35
Total Disbursements - Matter 46 $4,588.88

Disbursements -- Matter 32:

Duplicating 12.00

Total Disbursements - Matter 32 $12.00

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